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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

JORGE NEVAREZ-LEDEZMA,

       Petitioner,

v.                                                               Civ. No. 20-cv-1144 KG-KRS
                                                                 Cr. No. 19-cr-1379 KG-KRS

UNITED STATES OF AMERICA,

       Respondent.

                                             ORDER

       THIS MATTER comes before the Court on the United States’ Amended First Motion

for Extension of Time (Doc. 5), filed December 29, 2020.

       Having reviewed the motion, the relevant pleadings, and being otherwise fully informed

in the premises, the Court determines that the motion is well-taken.

       IT IS THEREFORE ORDERED that the United States’ Amended First Motion for

Extension of Time (Doc. 5) is GRANTED and the United States shall have until January 18,

2021 to file its response to Petitioner’s Motion to Vacate Convictions under 28 U.S.C. § 2255.




                                     _________________________________________
                                     KEVIN R. SWEAZEA
                                     UNITED STATES MAGISTRATE JUDGE
